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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                     _______________________________________________

VERNON OARD,

        Plaintiff,

v.                                                   Case No. 1:17-cv-1136

                                                     Hon. Paul L. Maloney
COUNTY OF MUSKEGON, and
14th JUDICIAL CIRCUIT COURT,

      Defendants.
__________________________________________________________________________

 Sarah Riley Howard                            Laura S. Amtsbuechler
 Erin L. Dornbos                               Laura Bailey Brown
 Pinsky, Smith, Fayette & Kennedy, LLP         Johnson, Rosati, Schultz & Joppich, P.C.
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                                JOINT STATUS REPORT


        A Rule 16 Scheduling Conference is scheduled for April 16, 2018 at 10:00 a.m.

before Honorable Paul L. Maloney by telephone. Appearing as counsel for Plaintiff

will be Sarah Riley Howard, Pinsky, Smith, Fayette & Kennedy, LLP, 805 McKay

Tower, Grand Rapids, MI 49503, and for Defendants, Laura S. Amtsbuechler and

Laura Brown, Center, Johnson, Rosati, Schultz & Joppich, P.C., 27555 Executive
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Dr., Suite 250, Farmington Hills, Michigan.

       1.    Jurisdiction. Jurisdiction is based upon 42 U.S.C. § 2000e–5(f), 28

U.S.C. § 1345 and 28 U.S.C. § 1331.

       2.     Jury or Non-Jury. This case is to be tried before a jury.

       3.     Judicial Availability. The parties do not agree to have a United

States Magistrate Judge conduct all further proceedings in this case, including

trial, and to order the entry of final judgment.

       4.    Statement of the Case.

       (a)   Plaintiff’s statement:

       Plaintiff is a 57-year-old limited licensed psychologist, who was employed by

Defendant, the County of Muskegon (“County”) as the Youth Services Director of

the Juvenile Transition Center from 2012 until the County laid him off in 2016.

The County has acknowledged there were no issues with Plaintiff’s performance.

       The County reorganized the JTC as part of the efforts to transition it to a

licensed Circuit Court-operated facility rather than a County-licensed facility.

Shortly after Plaintiff was laid off, the County posted the new position of the Family

Court Clinical Director, and placed Plaintiff’s former subordinate in the interim

position. Plaintiff and his former subordinate, a younger female, applied for the

permanent job, which went to his former subordinate despite Plaintiff’s better

qualifications. Upon information and belief, Plaintiff’s former subordinate was

having an extramarital affair with the Family Court Administrator, who directly


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influenced his paramour’s receipt of both the interim and the permanent Clinical

Director positions over Plaintiff. Defendants’ lay-off of Plaintiff, and selection of the

other candidate to receive the new job over Plaintiff on both an interim and

permanent basis, were the result of unlawful sex and age discrimination.

       (b)   Defendant’s Statement:

       Juvenile Detention centers are licensed by the State either as a County

operated child caring institution, or as a Court operated facility. Muskegon County

JTC was operated by the County until September 27, 2016, when the County Board

passed a resolution changing it to a Court operated facility. The Muskegon County

JTC performs functions related to children and youth under the jurisdiction of the

Family Court. The changes resulted in significant cost savings and a better ability

to serve the public.

       At the time of the transfer and change to a licensed Court operated facility,

Plaintiff’s position of Youth Services Director was eliminated by the County. The

position held by the younger female employee was also eliminated. The Court

operated JTC was organized with a position which was the Family Court Clinical

Director/Superintendent. The new position had different duties and pay than those

of Plaintiff’s previous position. Plaintiff and the younger female both applied for the

new job with the Court.

       Muskegon County was not involved in the decisions regarding creation of the

new position, or filling the position. The process used by the Court involved two


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rounds of panel interviews.     The first interview panel included a Family Court

Judge, the Deputy Circuit Court Administrator, the Director of the school at the

JTC, a probation officer, a representative of MDHHS, a staff member from the JTC

and a supervisor from probation.         The second interview panel included the

Presiding Judge of the Family Court, the Deputy Court administrator, the Director

of Health West, and a Director from MDHHS. Eric Steven was not involved in the

hiring decision.

       The “younger female” who had been selected for the new position resigned the

Family Court Clinical Director/Superintendent position effective May 31, 2017. The

position was reposted, and Plaintiff did not again apply.

       The Court transferred the JTC and eliminated the positions associated with

it for legitimate and non-discriminatory reasons. The Court reorganized and filled

the JTC positions when it began operation of the JTC as a Court facility. The Court

did not discriminate against Mr. Oard.

       5.    Prospects of Settlement:     The status of settlement negotiations is:

Offers were exchanged pre-litigation, but no settlement was reached.

       6.    Pendent State Claims: This case includes a pendent state claim.

       7.    Joinder of Parties and Amendment of Pleadings: The parties expect to

file all motions for joinder of parties to this action and to file all motions to amend

the pleadings by May 1, 2018.

       8.    Disclosures and Exchanges:


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               (a)   Fed.R. Civ.P. 26(a)(1) requires initial disclosures, including

identification of lay witnesses, unless the Court orders otherwise. Fed.R.Civ.P.

26(a)(1) disclosures shall be made by May 15, 2018.

       Plaintiff will file expert reports, if any, by November 1, 2018.

       Defendants will file expert reports, if any, by December 3, 2018.

               (b)    The parties may use experts regarding economic damages in

this matter.

               (c)   The parties have agreed to exchange documents through formal

discovery.

       9.      Discovery: The parties believe that all discovery proceedings can be

completed by December 31, 2018.

       The parties recommend the following discovery plan: Interrogatories will be

limited to 25 per side. Requests for Admissions will be limited 25 per side.

Depositions shall be limited to 10 per side. Individual depositions will be limited to

no more than 7 hours each in duration. If any party desires to impose additional

limits or desires relief from these limits, the party will contact the Court with an

appropriate request to modify this order.

       At this time, the parties do not believe that this case has any special

characteristics that warrant extended discovery, accelerated disposition, etc.

       10.     Disclosure or Discovery of Electronically Stored Information: The

parties will continue to confer in a good faith effort to agree upon the most


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appropriate way to produce electronically-stored information.

       11.     Assertion of Claims of Privilege or Work-Product Immunity After

Production: Any documents subject the attorney/client privilege and/or work-

product doctrine that are disclosed to the opposing party shall be immediately

returned to the disclosing party, with or without a request from the disclosing

party. Any such disclosure shall not constitute a waiver. If either party attempts to

use a document which the other party believes to be privileged, the party claiming

privilege or work product immunity shall notify the opposing party that it is

invoking the privilege, and/or the work product immunity doctrine and the

documents shall be immediately returned to the disclosing party.


       12.     Motions:   The parties anticipate that all dispositive motions will be

filed by 30 days after close of discovery. The parties acknowledge that it is the

policy of this Court to prohibit the consideration of non-dispositive motions unless

accompanied by a certificate that the moving party has made a reasonable and good

faith effort to reach agreement with opposing counsel on the matters set forth in the

motion.      All nondispositive motions shall be accompanied by a separately filed

certificate.

       13.     Alternative Dispute Resolution: The parties recommend that this case

be submitted to the following method of alternative dispute resolution: Early

settlement conference with a Magistrate Judge by October 1, 2018.



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       14.   Length of Trial: Counsel estimates that the trial will take

approximately five (5) days total, allocated as follows: Two (2) days for Plaintiff’s

case, three (3) days for Defendant’s case.

       15.   Electronic Document Filing System: Counsel understands that W.D.

Mich L. Civ. R. 5.7(a) requires that attorneys file and serve all documents

electronically by means of the Court’s CM/ECF system, unless the attorney has

been specifically exempted by the Court for cause or a document is not eligible for

electronic filing under the rule. The parties acknowledge that the Court expects all

counsel to abide by the requirements of this rule.

       16.   Other: N/A.

                                  PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                                  Attorneys for the Plaintiff

Dated: March 29, 2018             By: /s/ Sarah Riley Howard
                                         Sarah Riley Howard
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                                  JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C.
                                  Attorneys for the Defendants

Dated: March 29, 2018             By:   /s/ Laura S. Amtsbuechler (by SRH w/perm.)
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                                         Laura Bailey Brown
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